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tile 58 and/or 79(2) FF|CP on

Case 2:02-cv-02920-.]DB-dkv Document 163 Filed 05/09/05 Page 1 of 2 Page|D 181

 

1N THE UNITED sTATEs DlsTRICT CoURT ratio er D-C-
FOR THE wEsTERN DISTRICT 0F TENNESSEE . _
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JERRY L. BILLINGSLEY, %Y§§T L;j;l__;_'.-§ jr;;;de\é$
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Plaimiff,
v. NO. 02-2920-B/V

SHELBY COUNTY, OFFICER _T. FORD,
and MEMPHIS POLICE DEPARTMENT,
OFFICER JON KIRKLAND,

Defendants.

 

ORDER OF REFERENCE

 

Before the Court is Defendant Officer Jon Kirkland’s Motion to Strike Plaintiff’s Motion
in Opposition to Defendant’s Motion for Summary Judgment, the Affidavit of Gregory
Westbrook, and the Plaintiff’s Response in Support of Plaintiff’s Motion in Opposition of
Defendants’ Joint Motion for Mental Examination of Plaintiff and Defendant Officer ]on
Kirkland’s Motion for a Status Conference filed on April 21, 2005.

This request is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s Order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a Waiver of that objection. §e_e Rule 72(a), Federal Rules of Civil Procedure.

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IT IS SO ORDERED this Q day of May, 2005.

-t,%»\

J DANIEL BREEN

Z?MD sTATEs DISTRICT JUDGE g b

     

 

 
 

 

DISTCRIT OF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 163 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

